Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 1 of 28 PagelD #: 5

AFFIDAVIT
I, Terrance L. Taylor, being duly sworn, do hereby depose and state the following:

INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application under Rule 41 of the Federal
Rules of Criminal Procedure for a search warrant authorizing the seizure and examination of
property— two (2) electronic devices as further described in Attachment A—which are currently
in the possession of the Department of Homeland Security, Homeland Security Investigations,
210 Kanawha Boulevard West, Charleston, Kanawha County, West Virginia 25302, and the

extraction from that property of electronically stored information described in Attachment B.

2. I am a Special Agent with the United States Department of Homeland Security,
Homeland Security Investigations (“HSI”). I have been so employed since March 2012. I am
currently assigned to the Office of the Resident Agent in Charge HSI Charleston, West
Virginia. JI have experience in conducting investigations involving computers and the
procedures that are necessary to retrieve, collect, and preserve electronic evidence. Through my
training and experience, including on-the-job discussions with other law enforcement agents
and cooperating suspects, I am familiar with the operational techniques and organizational
structure of child pornography distribution networks and child pornography possessors and

their use of computers and other media devices.

3, I am a Special Agent with twenty-one years of federal law enforcement
experience. Prior to my employment with HSI, I was a Police Officer for two years in
Huntington, West Virginia, a Special Agent with the United States Department of State-Bureau
of Diplomatic Security for six years, a Special Agent with the Naval Criminal Investigative

Service for two years, and a Special Agent with the United States Department of State-Office of

Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 2 of 28 PagelD #: 6

Inspector General for two years. I am a graduate of three federal law enforcement academies at
the Federal Law Enforcement Training Center (“FLETC”) and a graduate of the West Virginia
State Police Academy. I graduated from the Criminal Investigator Training Program in 2002,
and the Immigration and Customs Enforcement Special Agent Training Program in 2012. As
part of these programs, I received extensive training in the areas of law within the jurisdiction
of HSI. These areas include laws and regulations pertaining to the importation of various types
of merchandise and contraband, prohibited items, money laundering, and various immigration
violations. I have more specifically received training in the areas of child pornography and the
sexual exploitation and abuse of children. This training includes specialized instruction on how
to conduct criminal investigations related to violations of child protection laws pursuant to 18
ULS.C. §§ 2251, 2252, 2252A, and 2256.

4, As a Special Agent, I have investigated federal criminal violations related to high
technology or cybercrime, child exploitation, and child pornography. I have gained experience
through training at the FLETC, Immigration and Customs Enforcement, as well as everyday
work relating to investigations involving the receipt, possession, access with intent to view,
production, importation, advertising, and distribution of child pornography that occur in the
District of Southern West Virginia. J have received training in the areas of child pornography and
child exploitation, and have had the opportunity to observe and review numerous examples of
child pornography (as defined in 18 U.S.C. § 2256(8)) in all forms of media, including computer
media. I have obtained search warrants for child pornography offenses, and I have been the case
agent or assisted others in numerous investigations involving the sexual exploitation of children.
Moreover, I am a federal law enforcement officer who is engaged in enforcing the criminal laws,
including 18 U.S.C. §§ 2252A(a)(Q) (receipt or distribution of child pornography) and

2

Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 3 of 28 PagelD #: 7

2252A(a)(5)(B) (possession of child pornography), and I am authorized by law to request a
search warrant.

5. This affidavit is intended to show only that there is sufficient probable cause for
the requested warrant and does not set forth all of my knowledge about this matter. The probable
cause statement is based upon information of which I am personally aware as well as information
that has been conveyed to me by other law enforcement officers.

IDENTIFICATION OF THE DEVICES TO BE EXAMINED

6. The property to be searched consists of two (2) electronic devices, which are
described in more detail in Attachment A (the “Devices”). The Devices are presently located at
the Department of Homeland Security, Homeland Security Investigations, 210 Kanawha
Boulevard West, Charleston, Kanawha County, West Virginia 25302. The Devices were
voluntarily provided to law enforcement by the owner and current resident of the home where
Jason Doliver MCSWEENEY (““MCSWEENEY’”) lived prior to his arrest and incarceration on
September 24, 2023. Prior to his arrest, MCSWEENEY lived with the owner of the residence
(his mother, whose identity is known to investigators but who shall be referred to herein as
“D.M.”), and she had access to the entirety of the residence, including the places where the
Devices were located. Upon information and belief, the Devices are in the same condition as
they were when MCSWEENEY was arrested and incarcerated on September 24, 2023.

7. The applied-for warrant would authorize the seizure and forensic examination of
the Devices for the purpose of identifying electronically stored data particularly described in
Attachment B.

STATUTES UNDER INVESTIGATION

8. I am currently investigating MCSWEENEY for violations of 18 U.S.C.
3

Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 4 of 28 PagelD #: 8

§ 2252A(a)(1) and (2) (transportation, receipt, and/or distribution of child pornography) and 18
U.S.C. § 2252A(a)(5)(B) (possession of child pornography). I seek to search the Devices to
locate evidence of criminal violations set forth above for items specified in Attachment B,

incorporated herein by reference.

BACKGROUND ON PEER-TO-PEER (P2P) FILE SHARING

9, Based on my training and experience, I know the following regarding peer-to-peer
file sharing networks, peer-to-peer client software programs, and the BitTorrent peer-to-peer file
sharing network. A growing phenomenon on the Internet is peer-to-peer (hereinafter referred to
as “P2P”) file sharing. P2P file sharing is a method of communication available to Internet users
through the use of special software programs. P2P file sharing programs allow groups of
computers using the same file sharing network and protocols to transfer digital files from one
computer system to another while connected to a network, usually on the Internet. There are
multiple types of P2P file sharing networks on the Internet. To connect to a particular P2P file
sharing network, a user first obtains a P2P client software program for a particular P2P file
sharing network, which can be downloaded from the Internet. A particular P2P file sharing
network may have many different P2P client software programs that allow access to that
particular P2P file sharing network. Additionally, a particular P2P client software program may
be able to access multiple P2P file sharing networks.

10. These P2P client software programs share common protocols for network access
and file sharing. The user interface, features, and configurations may vary between clients and
versions of the same client. In general, P2P client software allows the user to set up file(s) on a
computer to be shared on a P2P file sharing network with other users running compatible P2P

client software. A user can also obtain files by opening the P2P client software on the user’s

4

Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 5 of 28 PagelD #: 9

computer and conducting a search for files that are of interest and currently being shared on a
P2P file sharing network. Some P2P file sharing networks are designed to allow users to
download files and frequently provide enhanced capabilities to reward the sharing of files by
providing reduced wait periods, higher user ratings, or other benefits. In some instances, users
are not allowed to download files if they are not sharing files.

11. Settings within these programs control sharing thresholds. Typically, during a
default installation of a P2P client software program, settings are established which configure the
host computer to share files. Depending upon the P2P client software used, a user may have the
ability to reconfigure some of those settings during installation or after the installation has been
completed. A setting establishes the location of one or more directories or folders whose contents
(digital files) are made available for distribution to other P2P clients. In some clients, individual
files can also be shared. A setting controls whether or not files are made available for distribution
to other P2P client and whether or not users will be able to share portions of a file while they are
in the process of downloading the entire file. The latter feature increases the efficiency of the
network by putting more copies of file segments on the network for distribution.

12. ‘Typically, files being shared by P2P clients are processed by the client software.
As part of this processing, a hashed algorithm value is computed for each file and/or piece of a
file being shared (dependent on the P2P file sharing network), which uniquely identifies it on the
network. A file (or piece of a file) processed by this hash algorithm operation results in the
creation of an associated hash value often referred to as a digital signature. Some hash algorithms
provide a certainty exceeding 99.99 percent that two or more files with the same hash value are
identical copies of the same file regardless of their file names. By using a hash algorithm to

uniquely identify files on a P2P network, it improves the network efficiency. Because of this,

5

Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 6 of 28 PagelD #: 10

users may receive a selected file from numerous sources by accepting segments of the same file
from multiple clients and then reassembling the complete file on the local computer. This is
referred to as multiple source downloads. The client program succeeds in reassembling the file
from different sources only if all the segments came from exact copies of the same file. P2P file
sharing networks use hash values to ensure exact copies of the same file are used during this
process. P2P file sharing networks, including the BitTorrent network, are frequently used to trade
digital files of child pornography. These files include both image and movie files.

13. The BitTorrent network is a very popular and publicly available P2P file sharing
network. Most computers that are part of this network are referred to as “peers.” The terms
“peers” and “clients” can be used interchangeably when referring to the BitTorrent. A peer can
simultaneously provide files to some peers while downloading files from other peers. The
BitTorrent network can be accessed by computers running many different client programs, some
of which include the BitTorrent client program, uTorrent client program, and Vuze client
program. These client programs are publicly available and free P2P client software programs that
can be downloaded from the Internet. There are also BitTorrent client programs that are not free.
These BitTorrent client programs share common protocols for network access and file sharing.
The user interface, features, and configuration may vary between clients and versions of the
same client. During the installation of typical BitTorrent network client programs, various
settings are established which configure the host computer to share files. Depending upon the
BitTorrent client used, a user may have the ability to reconfigure some of those settings during
installation or after the installation has been completed.

14. A setting establishes the location of one or more directories or folders whose

contents (files) are made available to other BitTorrent network users to download.

6
Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 7 of 28 PagelD #: 11

In order to share a file or a set of files on the BitTorrent network, a “Torrent” file needs to be
created by the user that initially wants to share the file or set of files. A “Torrent” is typically a
small file that describes the file(s) that are being shared, which may include information on how
to locate the file(s) on the BitTorrent network. A typical BitTorrent client will have the ability to
create a “Torrent” file. It is important to note that the “Torrent” file does not contain the actual
file(s) being shared, but information about the file(s) described in the “Torrent,” such as the
name(s) of the file(s) being referenced in the “Torrent” and the “info hash” of the “Torrent.”

15. The “info hash” of each “Torrent” uniquely identifies the “Torrent” file. The
“info hash” is a SHA-1 hash value of the set of data describing the file(s) referenced in the
“Torrent,” which include the SHA-1 hash value of each file piece, the file size, and the file
name(s). SHA-1, or Secure Hash Algorithm Version 1, is a file encryption method which may be
used to produce a unique digital signature of a file. Finding a file that produces the same SHA-1
value as a known file requires a search and comparison of 1048 (2160) different files, which is
computationally infeasible. The Secure Hash Algorithm (SHA) was developed by the National
Institute of Standards and Technology (NIST), along with the National Security Agency (NSA),
for use with the Digital Signature Standard (DSS) as specified within the Secure Hash Standard
(SHS). The United States has adopted the SHA-1 hash algorithm described herein as a Federal
Information Processing Standard.

16. The “Torrent” file may also contain information on how to locate file(s)
referenced in the “Torrent” by identifying “Trackers.” “Trackers” are computers on the
BitTorrent network that collate information about the peers/clients that have recently reported
they are sharing the file(s) referenced in the “Torrent” file. A “Tracker” is only a pointer to

peers/clients on the network who may be sharing part or all of the file(s) referenced in the

7

Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 8 of 28 PagelD #: 12

“Torrent.” It is important to note that the “Trackers” do not actually have the file(s) and are used
to facilitate the finding of other peers/clients that have the entire file(s) or at least a portion of the
file(s) available for sharing. It should also be noted that the use of “Tracker(s)” on the BitTorrent
network is not always necessary to locate peers/clients that have file(s) being shared from a
particular “Torrent” file. There are many publicly available servers on the Internet that provide
BitTorrent tracker services.

17. Once a “Torrent” is created, in order to share the file(s) referenced in the
“Torrent” file, a user typically makes the “Torrent” available to other users, such as via websites
on the Internet. In order to locate “Torrent” files of interest, a typical user will use keyword
searches within the BitTorrent network client itself or on websites hosting “Torrents.” Once a
“Torrent” file is located that meets the keyword search criteria, the user will download the
“Torrent” file to their computer. Alternatively, a user can also search for and locate “magnet
links,” which are links that enable the BitTorrent network client program itself to download the
“Torrent” to the computer. In either case, a “Torrent” file is downloaded to the user’s computer.
The BitTorrent network client will then process that “Torrent” file in order to find “Trackers” or
utilize other means that will help facilitate finding other peers/clients on the network that have all
or part of the file(s) referenced in the “Torrent” file. It is again important to note that the actual
file(s) referenced in the “Torrent” are actually obtained directly from other peers/clients on the
BitTorrent network and not the “Trackers” themselves. Typically, the “Trackers” on the network
return information about remote peers/clients that have recently reported they have the same
file(s) available for sharing (based on SHA-1 “info hash” value comparison), or parts of the same
file(s), referenced in the “Torrent,” to include the remote peers’/clients’ Internet Protocol (IP)

addresses.
Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 9 of 28 PagelD #: 13

18. | Two computers on the Internet identify each other by an IP address. IP addresses
can assist law enforcement in finding a particular computer on the Internet and thereby lead law
enforcement to a person of interest. A person interested in obtaining child pornographic images
on the BitTorrent network would open the BitTorrent client application on his/her computer and
conduct a keyword search for files using a term such as “preteen sex.” (It should be noted that
this particular situation did not occur in this investigation.) The results of the keyword search are
typically returned to the user's computer by displaying them on the “Torrent” hosting website.
The hosting website will typically display information about the “Torrent,” which can include
the name of the “Torrent” file, the name of the file(s) referenced in the “Torrent” file, the size of
the file(s), and the “info hash” SHA-1 value of the “Torrent” file. The user then selects a
“Torrent” of interest to download to their computer. Typically, the BitTorrent client program will
then process the “Torrent” file. The user selects from the results displayed the file(s) they want to
download that were referenced in the “Torrent” file. Utilizing trackers and other BitTorrent
network protocols (such as Distributed Hash Tables, Peer Exchange, and Local Peer Discovery),
peers/clients are located that have recently reported they have the file(s) or parts of the file(s)
referenced in the “Torrent” file available for sharing. The file(s) is then downloaded directly
from the computer(s) sharing the file. Typically, once the BitTorrent network client has
downloaded part of a file(s), it may immediately begin sharing the file with other users on the
network. The BitTorrent network client program succeeds in reassembling the file(s) from
different sources only if it receives “pieces” with the exact SHA-1 piece hash described in the
“Torrent” file. During the download process, a typical BitTorrent client program displays the IP
address of the peers/clients that appear to be sharing part or all of the file(s) referenced in the

“Torrent” file or other methods utilized by the BitTorrent network protocols. The downloaded

9

Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 10 of 28 PagelD #: 14

file is then stored in the area previously designated by the user and/or the client program. The
downloaded file(s), including the “Torrent” file, will remain until moved or deleted.

19. As described above, one method for an investigator to search the BitTorrent
network for users possessing and/or disseminating child pornography files is to type in search
terms that, based on the investigator’s training and experience, would return a “Torrent”
filename indicative of child pornography. The investigator would then download the file(s)
referenced within the “Torrent” file and determine if the file(s) indeed contained child
pornography. The investigator can document the “info hash” SHA-1 hash value of this “Torrent”
file, to be compared with future identical “Torrent” files observed on the BitTorrent network.
Although transparent to the typical user, when searches are conducted, additional results are
received from the “Trackers” on other peers who recently reported to the network as having that
file(s) in whole or in part, which may include the IP addresses of those peers/clients. This
information can be documented by investigators and compared to those “info hash” SHA-1 hash
values the investigator has obtained in the past and believes to be child pornography, which
allows for the detection and investigation of computers involved in possessing, receiving, and/or
distributing files of previously identified child pornography. Therefore, without even
downloading the file(s), the investigator can compare the “info hash” SHA-1 hash value and
determine with mathematical certainty that a file(s) seen on the network is an identical copy of a
child pornography file(s) they had seen before.

20. The returned list of IP addresses can include computers that are likely to be within
the investigator’s jurisdiction. The ability to identify the approximate location of these IP
addresses is provided by IP geographic mapping services, which are publicly available and also

used for marketing and fraud detection. At this point in the investigative process, an association

10
Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 11 of 28 PagelD #: 15

between a known “Torrent” file (based upon on the “info hash” SHA-1 hash value comparison)
and a computer having a specific IP address (likely to be located within a specific region) can be
established. Once a client user is identified as recently having a file(s) believed to be child
pornography, in whole or in part, the investigator can then query that client user directly to
confirm the client user has that file(s), in whole or in part, and/or download that file directly from
the client user exclusively, otherwise known as a single source download. Depending upon
several factors, including configuration and available resources, it might not be possible to do
either.

21. The process of sharing files on the BitTorrent network involves peers allowing
other peers to copy a file(s) or portions of a file(s). This sharing process does not remove the
file(s) from the computer sharing the file. This process places a copy of the file on the computer
which downloaded it. If an investigator either received an affirmative response from a remote
peer that they possess a digital file, or the investigator received a digital file, in whole or in part,
that is believed to contain child pornography, from a remote peer at a specific IP address, the
investigator can conclude that a computer, likely to be in this jurisdiction, is running a BitTorrent
network P2P client and is currently possessing, receiving, and/or distributing specific and known
visual depictions of child pornography. Law enforcement has created BitTorrent network client
programs that obtain information from “Trackers” about peers/clients recently reporting that they
are involved in sharing digital files of known actual child pornography (based on the “info hash”
SHA-1 hash value), which then allows the downloading of a file from a single IP address (as
opposed to obtaining the file from multiple peers/clients on the network). This procedure allows
for the detection and investigation of those computers involved in sharing digital files of known

actual child pornography on the BitTorrent network. During the query and/or downloading

1]
Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 12 of 28 PagelD #: 16

process from a remote BitTorrent network client, certain information may be exchanged between
the investigator’s client and the remote client they are querying and/or downloading a file from,
such as 1) the remote client’s IP address; 2) a confirmation from the remote client that they have
pieces of the file(s) being requested, in whole or in part, and that the pieces of the file(s) are
being reported as shared from the remote client program; and 3) the remote client program and
version. This information may remain on the remote client’s computer system for long periods of
time. The investigator has the ability to log this information. A search can later be conducted on
a seized computer system(s) for this information, which may provide further evidence that the
investigator’s client communicated with the remote client.

22. An analogy to this investigative methodology would be receiving information
from an informant or an anonymous source that a particular residence was selling illegal
narcotics. An undercover investigator could independently confirm this information by knocking
on the door of the residence and asking if the occupants had said illegal narcotics. If so, the
undercover investigator would then ask for and receive the said illegal narcotics without actually
entering the residence, which would be similar to asking for and receiving an illegal child
pornography file from a P2P peer/client. The investigation of peer-to-peer file sharing networks
is a cooperative effort of law enforcement agencies around the country. Many of these agencies
are associated with the Internet Crimes against Children Task Force Program. P2P investigative
methodology has led to the issuance and execution of search warrants around the country
resulting in the arrest and conviction of numerous offenders possessing and/or distributing child
pornography, some of which were also involved in the sexual exploitation of actual child

victims.

12

Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 13 of 28 PagelD #: 17

BACKGROUND ON CHILD PORNOGRAPHY, COMPUTERS, WIRELESS
TELEPHONES, THE INTERNET, AND EMAIL

23. IT have had both training and experience in the investigation of computer-related

crimes. Based on my training, experience, and knowledge, I know the following:

24. | Computers and computer technology have revolutionized the way in which child
pornography is produced, distributed, and utilized. It has also revolutionized the way in which
child pornography collectors interact with each other. Child pornography formerly was
produced using cameras and film (either still photography or movies). Darkroom facilities and a
significant amount of skills were required in order to develop and reproduce the photographic
images. As a result, there were definable costs involved with the production of pornographic
images. To distribute these images on any scale also required significant resources. The
photographs themselves were somewhat bulky and required secure storage to prevent their
detection by the public. The distribution of these wares was accomplished through a
combination of personal contact, mailings, and telephone calls. Any reimbursement would

follow these same paths.

25. The development of computers has added to the methods used by child
pornography collectors to interact with and sexually exploit children. Computers serve four
functions in connection with child pornography. These are production, communication,

distribution, and storage.

26. Child pornographers can now transfer photographs from a camera in a computer-
readable format. With the advent of digital cameras, the images can now be transferred directly
onto a computer or wireless telephone. Electronic contact can be made to literally millions of

computers around the world. The ability to produce child pornography easily, reproduce it

13

Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 14 of 28 PagelD #: 18

inexpensively, and market it anonymously (through electronic communications) has drastically
changed the method of distribution and receipt of child pornography. Child pornography can be
transferred via electronic mail or through File Transfer Protocols to anyone with access to a
computer or wireless telephone capable of Internet access. Because of the proliferation of
commercial services that provide electronic mail service, chat services (i.e., “Instant
Messaging”), and easy access to the Internet, computers and wireless telephones are preferred

methods of distribution and receipt of child pornographic materials among pornographers.

27. A computer or wireless telephone’s ability to store images in digital form makes
them ideal repositories for child pornography. The size of the electronic storage media
(commonly referred to as the hard drive) used in home computers and other electronic devices
such as cell phones or even gaming consoles has increased tremendously within the last several

years. These drives can store hundreds of thousands of images at very high resolution.

28. The Internet and its World Wide Web afford collectors of child pornography
several different venues for obtaining, viewing, and trading child pornography in a relatively

secure and anonymous fashion.

29. Collectors and distributors of child pornography also use online resources to
retrieve and store child pornography, including services offered by Internet Portals such as
Yahoo!, Inc., and Google, Inc., among others. The online services allow a user to set up an
account with remote access. Even in cases where online storage is used, however, evidence of

child pornography can often be found on the user’s computer or wireless telephone.

14

Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 15 of 28 PagelD #: 19

CHILD PORNOGRAPHY COLLECTOR CHARACTERISTICS

30. Based upon my _ knowledge, experience, and training in criminal

investigations, particularly those that focus on child exploitation, as well as the training and

experience of other law enforcement officers trained in child exploitation and child

pornography investigations with whom I have had discussions, there are certain characteristics

common to individuals involved in the possession, receipt and distribution of child

pornography:

a)

b)

d)

Child pornography collectors may receive sexual gratification, stimulation,
and satisfaction from contact with children; or from fantasies they may
have viewing children engaged in sexual activity or in sexually suggestive
poses, such as in person, in photographs, or other visual media; or from
literature describing such activity.

Collectors of child pornography may collect sexually explicit or
suggestive materials in a variety of media, including photographs, magazines,
motion pictures, videotapes, books, slides and/or drawings or other visual
media. Child pornography collectors often use these materials for their own
sexual arousal and gratification. Further, they may use these materials to
lower the inhibitions of children they are attempting to seduce or to arouse
the selected child partner, or to demonstrate the desired sexual acts.

Child pornography collectors typically retain pictures, films, photographs,
negatives, magazines, correspondence, books, tape recordings, mailing lists,
child erotica, and videotapes for many years.

Likewise, collectors of child pornography often maintain their collections
that are in a digital or electronic format in a safe, secure and private
environment. These collections are often maintained for several years and
are kept close by, usually at the collector’s residence, to enable the collector
to view the collection, which is valued highly.

Importantly, evidence of such activity, including deleted child pornography,
often can be located on these individuals’ computers and digital devices
through the use of forensic tools. Indeed, the very nature of electronic storage
means that evidence of the crime is often still discoverable for extended

15

Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 16 of 28 PagelD #: 20

periods of time even after the individual “deleted” it.!

f) Child pornography collectors also may correspond with and/or meet others to
share information and materials; rarely destroy correspondence from other
child pornography distributors/collectors; conceal such correspondence as
they do their sexually explicit material; and often maintain lists of names,
addresses, and telephone numbers of individuals with whom they have been in
contact and who share the same interests in child pornography.

g) Collectors of child pornography prefer not to be without their child
pornography for any prolonged time. This behavior has been documented
by law enforcement officers involved in the investigation of child
pornography throughout the world. This behavior has been documented by
law enforcement officers involved in the investigation of child pornography
throughout the world. It has long been recognized by professionals dealing
with persons involved with child pornography that child pornography has
enduring value to those involved in the sexual exploitation of children. Such
persons rarely, if ever, dispose of their sexually explicit material. Those
materials are often treated as prized possessions. Individuals involved in child
pornography almost always maintain their materials in a place that they
consider secure and where the materials are readily accessible. Most
frequently, these materials are kept within the privacy and security of their
own homes. These materials are often kept on their person in forms of media
storage devices such as thumb drives and cellphones in their pants pockets
and on their keychains.

h) Further, it is common for such users to save and transfer the pornographic
images and/or pornographic video of children from one computer to
another because the images are generally difficult to obtain securely.

31. Your Affiant believes that given the continuing nature of possession of child
pornography and the general character of such offenders as “collectors” and “hoarders,” there is
probable cause to believe that evidence of violations of federal law, including, but not limited

to, 18 U.S.C. §§ 2252A(a)(2) (receipt or distribution of child pornography) and 2252A(a)(5)(B)

' See United States y, Carroll, 750 F.3d 700, 706 (7th Cir. 2014) (concluding that 5-year delay was not too long
because “staleness inquiry must be grounded in an understanding of both the behavior of child pornography
collectors and of modern technology”); see also United States v. Seiver, 692 F.3d 774 (7th Cir. 2012) (Posner, J.)
(collecting cases, e.g., United States v. Allen, 625 F.3d 830, 843 (Sth Cir. 2010); United States v. Richardson, 607
F.3d 357, 370-71 (4th Cir. 2010); United States v. Lewis, 605 F.3d 395, 402 (6th Cir. 2010)).

16

Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 17 of 28 PagelD #: 21

(possession of child pornography) will be present on the Devices, as described in Attachment

A, when the search is conducted.

DEFINITIONS

32. Based on my training and experience, I use the following technical terms to

convey the following meanings:

a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular
telephone) is a handheld wireless device used for voice and data communication
through radio signals. These telephones send signals through networks of
transmitter/receivers, enabling communication with other wireless telephones or
traditional “land line” telephones. A wireless telephone usually contains a “call
log,” which records the telephone number, date, and time of calls made to and
from the phone. In addition to enabling voice communications, wireless
telephones offer a broad range of capabilities. These capabilities include: storing
names and phone numbers in electronic “address books”; sending, receiving, and
storing text messages and e-mail; taking, sending, receiving, and storing still
photographs and moving video; storing and playing back audio files; storing
dates, appointments, and other information on personal calendars; and accessing
and downloading information from the Internet. Wireless telephones may also
include global positioning system (“GPS”) technology for determining the

location of the device.

b. Internet: The Internet is a global network of computers and other electronic
devices that communicate with each other. Due to the structure of the Internet,

connections between devices on the Internet often cross state and international
17

Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 18 of 28 PagelD #: 22

borders, even when the devices communicating with each other are in the same

state.

c. Computer: As defined in 18 U.S.C.§ 1030(e)(1), means an electronic, magnetic,
optical, electrochemical, or other high speed data processing device performing
logical, arithmetic, or storage functions, and includes any data storage facility or
communications facility directly related to or operating in conjunction with such

device.

d. Child pornography: As defined in 18 U.S.C. § 2256(8), means any visual
depiction, including any photograph, film, video, picture, or computer-generated
image or picture, whether made or produced by electronic, mechanical, or other
means of sexually explicit conduct, where the production of such visual
depiction involves the use of a minor engaging in sexually explicit conduct; such
visual depiction is a digital image, computer image, or computer-generated
image that is, or is indistinguishable form, that of a minor engaging in sexually
explicit conduct; or such visual depiction has been created, adapted or modified

to appear that an identifiable minor is engaging in sexually explicit conduct.

e. Sexually explicit conduct. As defined in 18 U.S.C. § 2256(2)(A)(i-v), means
actual or simulated (a) sexual intercourse, including genital-genital, oral-genital,
anal-genital, or oral-anal, whether between persons of the same or opposite sex;
(b) bestiality; (c) masturbation; (d) sadistic or masochistic abuse; or (e)

lascivious exhibition of the genitals or pubic areas of any person.

f. Visual depiction. As defined in 18 U.S.C. § 2256(5), includes undeveloped film

and videotape, data stored on computer disk or other electronic means which is
18
Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 19 of 28 PagelD #: 23

capable of conversion into a visual image, and data which is capable of
conversion into a visual image, and data which is capable of conversion into a
visual image that has been transmitted by any means, whether or not stored in a

permanent format.

PROBABLE CAUSE

33. On or about January 11, 2023, at 21:05 hours through on or about January 13,
2023, at 13:57 hours, Parkersburg Police Department Detective Daniel Miller was running
BitTorrent software and was connected to the Internet in an undercover capacity to conduct an
investigation on the BitTorrent P2P file sharing network. A connection was made between the
investigative computer and a computer/computing device running BitTorrent software having an
IP address assigned as 73.152.138.46. Two files, one consisting of 78 pieces and the other of
387 pieces were successfully downloaded from IP address 73.152.138.46. The device at IP
address 73.152.138.46 was the only IP address which shared the contents for each file
downloaded, whether completed or not, and as such, each file was downloaded directly from this
IP Address. Both of the files being shared that Detective Miller downloaded clearly constitute
child pornography whether in part or in whole. The following files were viewed by Detective

Miller:

a) “mov_0216.mp4” This video file depicts two prepubescent, female children
laying on a green colored couch/bench. One child is laying on her back with the
other child laying on her back on top of the other child. An adult male penis can
be seen penetrating the vagina of the child on the bottom and then penetrating the

vagina of the child on top.

19

Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 20 of 28 PagelD #: 24

b) “(G)Paradise Birds Anna & Nelly BDSM p6_recode.avi” This video file
depicts two prepubescent, female children in a bedroom near a bed. One of the
children takes her top and bottom off and lays on the bed while the other clothed

child ties her wrists to the headboard with pieces of rope.

34, On or about January 30, 2023, Detective Miller filed and submitted an
administrative subpoena requesting subscriber information from Comcast Cable
Communications on the aforementioned timeframe when the child pornography files were
downloaded by Detective Miller from IP address 73.152.138.46. Comcast Cable
Communications subsequently responded to the administrative subpoena and indicated that the
subscriber of the IP address was Paris Sweeney of 223 31st Street West, Huntington, West
Virginia 25704.

35. On or about March 17, 2023, at 02:26 hours through on or about May 12, 2023, at
18:24 hours, Detective Miller was running BitTorrent software and was connected to the Internet
in an undercover capacity to conduct an investigation on the BitTorrent P2P file sharing network.
During that time multiple connections were made between the investigative computer and a
computer/computing device running BitTorrent software having an IP address assigned as
76.26.77.74. Seven files were successfully downloaded in total or partially from IP address
76.26.77.74. The device at IP Address 76.26.77.74. was the only IP address which shared the
contents for each file downloaded, whether completed or not, and as such, each file was
downloaded directly from this IP Address. All the files being shared that Detective Miller
downloaded clearly constitute child pornography whether in part or in whole. The following files

were viewed by Detective Miller:

20

Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 21 of 28 PagelD #: 25

a) “000098.avi? This video file depicts a prepubescent, female child being
vaginally penetrated by an adult male penis and a dildo.

b) “000238.mp4” This video file depicts a prepubescent, female child being
vaginally penetrated by an adult male penis.

Cc) “001066.wmv” This video file shows a prepubescent unknown gender
child being anally penetrated by an adult male penis.

d) “001712.wmv” This video file depicts a prepubescent, female child being
vaginally penetrated by an adult male penis. The male ejaculates on the
child’s vagina.

e) “001720.A VI” This video file depicts a prepubescent, female child being
vaginally penetrated by an adult male penis. The child has the words “FUCK
ME” written on her stomach with an arrow pointing toward her vagina. The
video changes to another prepubescent, female child digitally penetrating her
own vagina while saying “fuck my pussy” to the camera.

f) “i! New 2006 !!! Guatemala 9Yo Nena De La Calle (Sopp2) {Rare
Reel Fck Good} (Kleuterkutje) (Pedo) (Ptsc) Very Good (Pthe) 12Y
American Indian Girl Fucked.avi” This video file depicts a prepubescent,
female child laying in the backseat of a vehicle while being vaginally
penetrated by an adult male penis.

g) “OPVA PTHC 2015 1llyo and uncle best anal fuck creampie

penetrated by an adult male penis. The child can be heard crying as the adult

male penis penetrates her and ejaculates in her anus.

36, On or about March 28, 2023, Detective Miller filed and submitted an
administrative subpoena requesting subscriber information from Comcast Cable
Communications on the aforementioned timeframe when the child pornography files were

downloaded by Detective Miller from IP address 76.26.77.74. Comcast Cable Communications

21

Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 22 of 28 PagelD #: 26

subsequently responded to the administrative subpoena and indicated that the subscriber to the IP
address was Paris Sweeney of 223 31st Street West, Huntington, West Virginia 25704.

37. On or about November 13, 2023, Detective Miller contacted your Affiant
regarding the P2P investigation. Your Affiant conducted investigative checks on the 223 31st
Street West, Huntington, West Virginia, residence. A search of the Wayne County, West
Virginia, Assessor’s Tax Map identified D.M. as the owner of the residence located at 223 31st
Street West, Huntington, Wayne County, West Virginia.

38. West Virginia Department of Motor Vehicles records showed that D.M. was
issued an identification card with identification number 1421012 on September 16, 2021.The
identification card listed D.M.’s address as 223 31st Street West, Huntington, Wayne County,
West Virginia.

39. Further investigation revealed that MCSWEENEY also resided at 223 31st Street
West, Huntington, Wayne County, West Virginia. West Virginia Department of Motor Vehicles
records showed that MCSWEENEY was issued a driver’s license with license number E751488
on August 28, 2018. The driver’s license listed MCSWEENEY’s address as 223 31st Street
West, Huntington, Wayne County, West Virginia.

40. On or about November 16, 2023, your Affiant and HSI Special Agent Christopher
Yarnell conducted a voluntary interview with D.M. at her residence located at 223 31st Street
West, Huntington, Wayne County, West Virginia. Your Affiant advised D.M. that a child
exploitation investigation was associated with her IP address at the residence. D.M. agreed to be
interviewed regarding the investigation.

41. During the interview, D.M. stated the following: Her husband died a few years

ago, and it has only been herself and her son, MCSWEENEY, residing in her house. She has
22
Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 23 of 28 PagelD #: 27

Comcast as her internet service provider, and her wi-fi router is password protected. No other
people visit her residence, and no one else has the router password except for her son,
MCSWEENEY. Her son has bi-polar disorder and is not currently on any medication. He does
not work, nor does he collect Social Security disability benefits. Their income consists of her
husband's pension and Social Security benefits. MCSWEENEY was recently arrested for a
domestic violence offense and is incarcerated. D.M. is expected to testify in Wayne County court
on December 6, 2023, regarding his arrest.

42. Regarding electronic devices within her home, D.M. stated the following: She has
a desktop computer in her family room and a personal cellphone with the phone number is 304-
XXX-XX05. D.M. is not aware of MCSWEENEY viewing child pornography, but
acknowledges he does watch videos on the desktop computer and an Amazon tablet. However,
she does not know what he watches because she is legally blind and would not be able to view
any images on the computer. MCSWEENEY has one of D.M.’s old cellphones and one of her
old Amazon tablets in his bedroom.

43. | D.M. allowed your Affiant and SA Yarnell to view MCSWEENEY’s room to find
his electronic devices. Your Affiant asked D.M. if she would sign a Consent to Search form
regarding the desktop computer, her old cellphone, and her old Amazon tablet. She subsequently
agreed to allow HSI Charleston to conduct a computer forensic review of the aforementioned
items by signing the document. Your Affiant provided D.M. an inventory of the three items to be
taken for a computer forensic review.

44, On or about December 9, 2023, a computer forensic review was completed on the
Asus desktop computer that was located in D.M.’s living room adjacent to the front door. The

computer forensic review identified 5,431 images and 9 videos of child pornography.

23

Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 24 of 28 PagelD #: 28

45. Law enforcement did not conduct a computer forensic review of the Amazon
tablet and D.M.’s old cellphone because those devices were located in MCSWEENEY’s
bedroom. This search warrant seeks a computer forensic review of those items.

SPECIFICS OF SEARCH AND SEIZURE OF COMPUTER
AND ELECTRONIC DEVICE SYSTEMS

46. Based upon my training and experience and information related to me by agents
and others involved in the forensic examination of computers and other electronic devices, I
know that data can be stored on a variety of computer systems and storage devices, including
external and internal hard drives, flash drives, thumb drives, micro SD cards, macro SD cards,
DVDs, gaming systems, SIM cards, cellular phones capable of storage, floppy disks, compact
disks, magnetic tapes, memory cards, memory chips, and online or offsite storage servers

maintained by corporations, including but not limited to “cloud” storage.

47. As is the case with most digital technology, communications by way of computer
or cellular phone can be saved or stored on the computer used for these purposes. Storing this
information can be intentional, i.e., by saving an e-mail as file on the computer or saving the
location of one’s favorite websites in, for example, “bookmarked” files. Digital information can
also be retained unintentionally, e.g., traces of the path of an electronic communication may be
automatically stored in many places (e.g., temporary files or ISP client software, among others).
In addition to electronic communications, a computer user’s Internet activities generally leave

traces or “footprints” in the web cache and history files of the browser used.

48. I submit that there is probable cause to believe the items in Attachment B will be

stored on the Devices for at least the following reasons:

24
Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 25 of 28 PagelD #: 29

49.

Based on my knowledge, training, and experience, I know that computer files or
remnants of such files can be recovered months or even years after they have been
downloaded onto a storage medium, deleted, or viewed via the Internet.
Electronic files downloaded to a storage medium can be stored for years at little
or no cost. Even when files have been deleted, they can be recovered months or
years later using forensic tools. This is so because when a person “deletes” a file
on a computer, the data contained in the file does not actually disappear; rather,
that data remains on the storage medium until it is overwritten by new data.

Deleted files, or remnants of deleted files, may reside in free space or slack
space—that is, in space on the storage medium that is not currently being used by
an active file—for long periods of time before they are overwritten. In addition, a
computer’s operating system may also keep a record of deleted data in a “swap”
or “recovery” file.

Wholly apart from user-generated files, computer storage media—in particular,
computers’ internal hard drives—contain electronic evidence of how a computer
has been used, what it has been used for, and who has used it. Computer users
typically do not erase or delete this evidence, because special software is typically
required for that task. However, it is technically possible to delete this
information.

Similarly, files that have been viewed via the Internet are sometimes
automatically downloaded into a temporary Internet directory or “cache.”

As further described in Attachment B, this application seeks permission to locate

not only computer files that might serve as direct evidence of the crimes described on the

warrant, but also for forensic electronic evidence that establishes how the Devices were used, the

purpose of their use, who used them, and when. There is probable cause to believe that this

forensic electronic evidence will be on the Devices because:

a. Data on the storage medium can provide evidence of a file that was once on the

storage medium but has since been deleted or edited, or of a deleted portion of a
file (such as a paragraph that has been deleted from a word processing file).
Virtual memory paging systems can leave traces of information on the storage
medium that show what tasks and processes were recently active. Web browsers,
e-mail programs, and chat programs store configuration information on the
storage medium that can reveal information such as online nicknames and
passwords. Operating systems can record the times the computer was in use.
Computer file systems can record information about the dates files were created
and the sequence in which they were created, although this information can later
be falsified.

25

Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 26 of 28 PagelD #: 30

b.

Information stored within a computer and other electronic storage media may
provide crucial evidence of the “who, what, why, when, where, and how” of the
criminal conduct under investigation, thus enabling the United States to establish
and prove each element or alternatively, to exclude the innocent from further
suspicion. In my training and experience, information stored within a computer or
storage media (e.g., registry information, communications, images and movies,
transactional information, records of session times and durations, Internet history,
and anti-virus, spyware, and malware detection programs) can indicate who has
used or controlled the computer or storage media. This “user attribution”
evidence is analogous to the search for “indicia of occupancy” while executing a
search warrant at a residence.

The existence or absence of anti-virus, spyware, and malware detection programs
may indicate whether the computer was remotely accessed, thus inculpating or
exculpating the computer owner.

Moreover, information stored within a computer may provide relevant insight into
the computer user’s state of mind as it relates to the offense under investigation.
For example, information within the computer may indicate the owner’s motive
and intent to commit a crime (e.g., internet searches indicating criminal planning),
or consciousness of guilt (e.g., running a “wiping” program to destroy evidence
on the computer or password protecting/encrypting such evidence in an effort to
conceal it from law enforcement).

A person with appropriate familiarity with how a computer works can, after
examining this forensic evidence in its proper context, draw conclusions about
how computers were used, the purpose of their use, who used them, and when.

The process of identifying the exact files, blocks, registry entries, logs, or other
forms of forensic evidence on a storage medium that are necessary to draw an
accurate conclusion is a dynamic process. While it is possible to specify in
advance the records to be sought, computer evidence is not always data that can
be merely reviewed by a review team and passed along to investigators. Whether
data stored on a computer is evidence may depend on other information stored on
the computer and the application of knowledge about how a computer behaves.
Therefore, contextual information necessary to understand other evidence also
falls within the scope of the warrant.

Further, in finding evidence of how a computer was used, the purpose of its use,
who used it, and when, sometimes it is necessary to establish that a particular
thing is not present on a storage medium. For example, the presence or absence of
counter-forensic programs or anti-virus programs (and associated data) may be
relevant to establishing the user’s intent.

I know that when an individual uses a computer to distribute or attempt to
distribute child pornography, the individual’s computer will generally serve both
as an instrumentality for committing the crime and also as a storage medium for

26

Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 27 of 28 PagelD #: 31

evidence of the crime. The computer is an instrumentality of the crime because it
is used as a means of committing the criminal offense. The computer is also
likely to be a storage medium for evidence of a crime. From my training and
experience, | believe that a computer used to commit a crime of this type may
contain: data that is evidence of how the computer was used; data that was sent or
received; notes as to how the criminal conduct was achieved; records of Internet
discussions about the crime; and other records that indicate the nature of the
offense.

FORENSIC ANALYSIS

50. Based on the foregoing, and consistent with Rule 41(e)(2)(B) of the Federal
Rules of Criminal Procedure, the warrant I am applying for would permit the examination of the
Devices consistent with the warrant. The examination may require authorities to employ
techniques, including but not limited to computer-assisted scans of the entire medium, that might
expose many parts of the Devices to human inspection in order to determine whether it is
evidence described by the warrant. If the Devices have been locked using a passcode, the
examination may also include the use of computer programs or other devices to bypass the

passcode or otherwise access the material located on the Devices.

27

Case 3:24-mj-00031 Document 1-2 Filed 05/20/24 Page 28 of 28 PagelD #: 32,

CONCLUSION

Sl, I submit that this affidavit supports probable cause for a search warrant
authorizing the examination of the Devices described in Attachment A to seek the items
described in Attachment B.

52. Moreover, I am aware that the recovery of data by a computer forensic analyst
’ takes significant time; much the way recovery of narcotics must later be forensically evaluated in
a lab, digital evidence will also undergo a similar process. For this reason, unless otherwise
ordered by the Court, the return will not include the specific evidence later examined by a

forensic analyst.

Purther your Affiant sayeth naught.

[mf yb

SPECIAL AGEN’ TERRANCE L. TAYLOR
DEPARTMENT OF HOMELAND SECURITY
HOMELAND SECURITY INVESTIGATIONS

